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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                        CIVIL APPEAL STATEMENT OF PARTIES AND ISSUES

Case No: 23-5053                           Case Manager: C. Anthony Milton

Case Name: American College of Pediatricians et al v. Xavier Becerra et al

Is this case a cross appeal?     Yes         No
                                             ✔


Has this case or a related one been before this court previously?         Yes     ✔   No
If yes, state:
   Case Name:                                    Citation:
   Was that case mediated through the court’s program?         Yes        No

Please Identify the Parties Against Whom this Appeal is Being Taken and the Specific Issues You
Propose to Raise:
Parties:

Xavier Becerra, in his official capacity as Secretary of U.S. Department of Health & Human Services; U.S.
Department of Health & Human Services; Office for Civil Rights of the U.S. Department of Health & Human
Services; Lisa J. Pino, in her official capacity as Director of the Office for Civil Rights of the U.S. Department of
Health & Human Services.

Specific Issues to be raised:

Whether the district court erred by holding that Plaintiffs lack standing to challenge Section 1557 of the
Affordable Care Act and HHS’s requirements to comply with it, where (1) the district court agreed that Plaintiffs’
proposed conduct violates HHS’s requirements, (2) the government has initiated enforcement actions in the
past regarding activities that violate the same requirement that Plaintiffs’ conduct violates, and (3) the
government issued a formal Notice warning that the government is investigating and will enforce Section 1557
against activities like those in which Plaintiffs engage and propose to engage.




This is to certify that a copy of this statement was served on opposing counsel of record this 31st day of

                   January , 2023      .                   Matthew S. Bowman
                                                           Name of Counsel for Appellant




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Rev. 6/08
